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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                     EUGENE DIVISION


OPEN OUR OREGON, DA CIELO LLC,                   No. 20-CV-00773-MC
THE MOUNT HOOD MIXER SHOP,
INC., UNDER THE SKIN TATTOO                      BENCH MEMORANDUM
LLC, BRYANT LLC, KUEBLER'S
FURNITURE, INC., KATHY SALDANA,                  CONCERNING ADDITIONAL
as an individual; MICHELE                        AUTHORITY
KARPONTINIS, as an individual; and
DAVID PARSON, as an individual,

                       Plaintiffs,

                       v.

KATE BROWN, in her official capacity as
the Governor of the State of Oregon,
LILLIAN SHIRLEY, in her official
capacity as Public Health Director of the
State of Oregon,

                       Defendants.



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                                       Memorandum

         The day after the plaintiffs filed this action, the Supreme Court of Wisconsin

issued a decision in Wisconsin Legislature v. Palm, No. 2020AP765-OA (May 13, 2020)

(copy attached hereto as Exhibit 1). While the majority opinion of the Court did not

directly address constitutional limitations on the scope of the Governor's executive

power, its decision makes it clear that it had "serious constitutional questions" about the

assertion of open-ended statutory emergency powers akin to those asserted by the

Government here. (Slip op. at 18.) As the majority decision explains, "the people

consent to the Legislature making laws because they have faith that the procedural

hurdles required to pass Legislation limit the ability of the legislature to infringe on their

rights." (Id. at 19.)

         Here it was not the Oregon Legislature acting, as did the Wisconsin legislature, to

issue specific legislation affording specific public health control measures. (See id. at

24-27 (contrasting specific public health authority to extraordinary overreach in orders).)

The Wisconsin Supreme Court properly held that general orders "closing business" went

beyond such specific grants of authority. (Id. at 31-32.) We are filing here the

Declaration of Kelly Barnett to underscore just how extreme and unprecedented the

Governor's authority stands in comparison to Oregon's carefully prepared procedures for

pandemic responses (quarantine and isolation, including the isolation of groups),

procedures that are designed to protect the fundamental constitutional rights abridged

here.

         Of further relevance to this Court's decision is the Wisconsin Supreme Court's

observation that any emergency powers recognized in a Governor "are premised on the
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inability to secure legislative approval given the nature of the emergency" (Id. at 22),

while "in the case of a pandemic, which lasts month after month, the Governor cannot

rely upon emergency powers indefinitely" (id. at 23). Similar to Wisconsin, Oregon has a

statutory scheme that provides for orders to last only 14 days, unless extended (ORS

433.441(5), or in the case of truly "catastrophic disaster, calls for the Governor to

convene the Legislature (Or. Const., Art. 10-A, § 1). State law does not control the

boundaries of federal constitutional rights, but the extended duration of this emergency

clearly informs the degree to which this Court should defer to the Governor's balancing

away of Constitutional rights on emergency grounds without the legislative or judicial

input contemplated in Oregon law (see generally Oregon Isolation and Quarantine Bench

Book, Barnett Decl. Ex. 3).

        Finally, we believe the concurring opinion of Judge Bradley best explains how the

challenged Executive Orders stand as "a plain, palpable invasion of rights secured by the

fundamental law". Jacobsen v. Commonwealth of Massachusetts, 197 Or. 11, 31 (1905).

Like the people of Oregon, "the people of Wisconsin never consented to any elected

official . . . having the power to create law, execute it, and enforce it". (Bradley, J.,

concurring slip op. at 1 (Exhibit 1, at 40).) Justice Bradley reviews pertinent portions of

the Federalist Papers, U.S. Supreme Court authority going back to Marbury v. Madison,

5 U.S. (1 Cranch) 137 (1803), Blackstone, writings of the Founders, and other authority

to show the truly fundamental nature of separation of powers as an inherent attribute of

the Constitutional government this Court is bound to guarantee, and a core component of

the fundamental right of liberty granted to the People. (Id. at 2-5 (Exhibit 1, at 41-44).)

All these concerns are endorsed by, and expand upon, in a second excellent concurring

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opinion by Justice Daniel Kelly. (Kelly, J., concurring, slip op at 1-24 (Exhibit 1,

at 62-85).

        Justice Bradley also expands upon our reference to Korematsu v. United States,

323 U.S. 214 (1944), by discussing it and Buck v. Bell, 274 U.S. 200 (1927), and

explaining that

                "These repugnant cases must be cited to explain the fundamental
        importance of judicial resistance to popular pressures, which in times of crisis
        implore judges to cast aside the law in the name of emergency. 'History teaches
        that grave threats to liberty often come in times of urgency, when constitutional
        rights seem too extravagant to endure. . . . [W]hen we allow fundamental
        freedoms to be sacrificed in the name of real or perceived exigency, we invariably
        come to regret it.' Skinner v. Railway Labor Executives' Ass'n, 489 U.S. 602, 635
        (1989) (Marshall, J., dissenting). Even if a significant portion of the public
        supports the Safer at Home Order, the judiciary must protect the structural
        separation of powers embodied in our state and federal constitutions in order to
        avoid future monumental mistakes from which our republic may never recover.

(Id. at 11-12.)

We anticipate the State may object that it is not for this Court to address gross violations

of the separation of state powers. But these Orders, which according to news reports now

extend even to rejecting the petitions of Marion and Polk County for limited release from

her Orders, are truly unprecedented and extraordinary. Above all else, the Wisconsin

Supreme Court opinion demonstrates how the kind of Orders issued by the Governor—

including the new Executive Order No. 20 25--go so far from the traditional and

fundamental conceptions of American governance as to demand enforcement of

plaintiffs' Constitutional rights.




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    DATED: May 15, 2020.

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                           CERTIFICATE OF SERVICE


       I hereby certify that I served the foregoing BENCH MEMORANDUM

CONCERNING ADDITIONAL AUTHORITY on May 15, 2020, by notice of electronic

filing using the CM/ECF System on the following parties listed below:

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                                                    /s/ James L. Buchal




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